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		OSCN Found Document:STATE ex rel. OKLAHOMA BAR ASSOCIATION v. McBRIDE

					

				
  



				
					
					
						
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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. McBRIDE2021 OK 13Case Number: SCBD-7034Decided: 03/29/2021THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2021 OK 13, __ P.3d __

				
FOR PUBLICATION OBA NETWORK ONLY. NOT FOR OFFICIAL PUBLICATION . 


&nbsp;


State of Oklahoma ex rel. Oklahoma Bar Association, Complainant,
v.
Michael David McBride, Respondent.




ORDER OF IMMEDIATE INTERIM SUSPENSION


¶1 The Oklahoma Bar Association (OBA), in compliance with Rules 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), forwarded to this Court certified copies of the Information, Supplemental Information, Probable Cause Affidavit, and Motion to Dismiss in the matter of State of Oklahoma v. Michael David McBride, CF-2020-141, in Muskogee County, Oklahoma. This felony case was dismissed and the case was refiled as Muskogee County District Court Case No. CM-2020-560. The OBA also forwarded to this Court certified copies of the Information, Probable Cause Affidavit, Acknowledgment and Waiver of Rights, and Deferment in CM-2020-560. On July 24, 2020, Respondent entered pleas of Guilty to the misdemeanor crime of Driving Under the Influence in violation of 47 O.S.2011, § 11-902(A)(2), and the misdemeanor crime of Driving with a Suspended License in violation of 47 O.S.2011, § 6-303(B). The Court deferred judgment and sentence on both matters for one year until July 24, 2021, with the counts to run concurrent to each other, during which time the Respondent was placed on probation.

¶2 In addition, the OBA provided the following notice of enhancement pursuant to RGDP 6.2: Respondent was publicly reprimanded and this Court imposed a deferred suspension of two years and one day in State of Oklahoma ex rel., Oklahoma Bar Association v. McBride, 2007 OK 91, 175 P.3d 379. The discipline was imposed following Respondent's repeated alcohol-related offenses over a period of time, evidencing Respondent's indifference to legal obligations and engaging in conduct that reflects adversely on the legal profession.

¶3 RGDP 7.3 provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court may by order immediately suspend the lawyer from the practice of law until further order of the Court." Having received certified copies of these papers and orders, and in view of the prior conduct resulting in discipline, this Court orders that Michael David McBride is immediately suspended from the practice of law. Michael David McBride is directed to show cause, if any, no later than April 13, 2021, why this order of interim suspension should be set aside. See RGDP Rule 7.3. The OBA has until April 28, 2021, to respond.

¶4 Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules." Pursuant to Rule 7.4, Michael David McBride has until May 13, 2021, to show cause in writing why a final order of discipline should not be imposed, to request a hearing, or to file a brief and any evidence tending to mitigate the severity of discipline. The OBA has until May 28, 2021, to respond.

¶5 DONE BY ORDER OF THE SUPREME COURT in conference on March 29, 2021.


/S/CHIEF JUSTICE



Darby, C.J., Kane, V.C.J., Kauger, Winchester, Edmondson, Combs, Gurich and Rowe, JJ., concur.







	Citationizer© Summary of Documents Citing This Document
	
	
		
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	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
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	Oklahoma Supreme Court Cases
&nbsp;CiteNameLevel

&nbsp;2007 OK 91, 175 P.3d 379, STATE ex rel. OKLAHOMA BAR ASSOCIATION v. MCBRIDEDiscussed
Title 47. Motor Vehicles
&nbsp;CiteNameLevel

&nbsp;47 O.S. 11-902, Persons Under the Influence of Alcohol or Other Intoxicating Substance or Combination ThereofCited
&nbsp;47 O.S. 6-303, Driving While License Under Suspension or Revocation - Penalties - MotorcyclesCited


	
	








				
					
					
				

		
		

	
		
			
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